                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF WISCONSIN


ERIC D. CONNER,

               Plaintiff,

      v.                                     Case No. 17-CV-0948

STACY L. HOEM, SCOTT RUBIN-
ASCH, ANGELA MINK, JOLINDA
WATERMAN, SANDY MCARDLE, AND
NATHAN BETHEL,

               Defendants.


                  DECLARATION OF STACEY HOEM, PH.D.


      I, STACEY HOEM, Ph.D., pursuant to 28 U.S.C. § 1746, declares as

follows:

      1.       I make this declaration based on my personal knowledge and

review of the records maintained in the ordinary course of business at the

Wisconsin Secure Program Facility (WSPF).

      2.       I am currently employed by the Wisconsin Department of

Corrections (Department) as a Licensed Psychologist at WSPF. I have held

this position since September 7, 2006.

      3.       As a Licensed Psychologist, my duties include, but are not limited

to: mental health screenings; conducting brief individual counseling and




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mental health monitoring; providing crisis intervention and prevention; and

providing individual psychotherapy, group therapy, and psychological

assessments to inmates needing mental health services.

      4.       Eric Conner (DOC#420475) is an inmate currently housed at

WSPF.

      5.       On March 3, 2017, I placed Conner on observation status around

9:00 a.m. after he attempted to hang himself while outside during recreation.

When I spoke with him, he indicated to me that he was having thoughts of

self-harm and that he could not be in prison any longer.

      6.       Observation status is a very restrictive status used for the

purpose of preventing an inmate from inflicting harm upon himself or

someone else. Inmates in observation status are checked on by unit staff

every 15 minutes throughout the day and night. Psychological Services Unit

(PSU) staff also conduct daily rounds of inmates on observation status.

      7.       During daily rounds by PSU staff, the inmate’s behavior and

mental health condition are evaluated to determine whether there is still a

risk to the inmate’s safety or the safety of others. The inmate’s property can

also be reviewed during these contacts to determine if property should be

added or removed.




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      8.       When initially placed on observation status, inmates are

generally given the least amount of property as to minimize the risk of self-

harm/suicide.

      9.       On March 3, 2017, Conner was initially only allowed to have a

segregation mattress (approximately one inch thick rubber mattress), toilet

paper, and styromeals (all meals served in his cell on a Styrofoam tray

without utensils). He had a history of self-harming behaviors prior to this

placement, including attempts at hanging himself, so I did not want him to

have a segregation smock right away as that material could be used in

another hanging attempt.

      10.      Prescription medications are not authorized to be kept on an

inmate’s person while in observation status as they can be used for self-harm.

Inmates who are prescribed medications or other items from a physician are

able to access them through Health Services Unit (HSU) staff.

      11.      When I initially placed Conner in clinical observation status on

March 3, 2017, he did not talk to me about wanting his medicated creams and

lotions.

      12.      I was informed that Conner brought up the issue of needing his

creams and lotions at some point shortly after he was placed on clinical

observation status. Conner refused to talk to PSU about this issue, but would

later tell unit staff that he was supposed to get his creams in his cell, at


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which point I placed a handwritten note on his cell front stating that he

should not be given his creams and lotions in his cell, as it was not approved

property.

      13.   I put the restriction on his cell because I did not want security

staff or the unit manager allowing him to possess his creams and lotions

while in observation status should he ask for them. He had a history of

refusing to speak with PSU staff, but would then talk to security and unit

staff seeking more property. This restriction was put in place for his own

safety, as I was aware that he had previously used his creams/lotions to cover

the camera in his cell.

      14.   Covering a camera is a serious security risk as staff are unable to

observe what is happening inside the cell. The primary purpose of

observations status is to closely monitor the inmates so they are not engaging

in self-harming behaviors. Covering their camera impedes staff’s ability to

monitor them and ensure their safety.

      15.   Conner was given a security smock on several occasions

throughout his placement in observation status, the first time being on March

4th; however, his segregation smock was removed multiple times due to

misuse. He would hide under it so staff could not see what he was doing, and

he also threatened to hang himself with it, at which point it was removed.




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Once his behavior became appropriate, his segregation smock would be

returned to him.

      16.    Conner was released from observation status on April 20, 2017

after the March 3, 2017 placement, per Psychologist Supervisor Scott Rubin-

Asch. As one of the psychologists in the PSU, I participated in several of his

assessments in evaluating his mental health status throughout his

placement.


                                    Pursuant to 28 U.S.C. § 1746, I declare under
                                    penalty of perjury that the foregoing is true
                                    and correct.

                                    Executed on August 15, 2018.



                                    s/ Stacey Hoem, Ph.D.
                                    Stacey Hoem, Ph.D.




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